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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

BIG LOTS, INC., et al.,                                          Case No. 24-11967 (JKS)

                            Debtors.1                            (Jointly Administered)


              NOTICE OF AMENDED2 AGENDA FOR HEARING SCHEDULED FOR
                          OCTOBER 21, 2024, AT 1:30 P.M. (ET)

                      This proceeding will be conducted in-person in Courtroom 6.
        All counsel and witnesses are expected to attend unless permitted to appear remotely via
                      Zoom. Please refer to Judge Stickles’ Chambers Procedures
          (https://www.deb.uscourts.gov/content/judge-j-kate-stickles) and the Court’s website
       (http://www.deb.uscourts.gov/ecourt-appearances) for information on who may participate
     remotely, the method of allowed participation (video or audio), Judge Stickles’ expectations of
                     remote participants, and the advance registration requirements.

      Registration is required by 4:00 p.m. (Prevailing Eastern Time) the business day before the
      hearing unless otherwise noticed using the eCourtAppearances tool available on the Court’s
                                                website.


RESOLVED MATTERS

1.        Motion of Debtors for Entry of Interim and Final Orders (I) Confirming the Manner of
          Satisfying the Requirement to File a List of Equity Security Holders and (II) Authorizing
          Debtors to Redact Certain Personal Information (D.I. 5, filed 9/9/24).

          Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
          5:00 p.m. (ET) for the Official Committee of Unsecured Creditors (“Committee”) and the
          Office of the United States Trustee (“U.S. Trustee”).

          Responses Received:


          1
            The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers, are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores -
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin-
Granville Road, Columbus, OH 43081.

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              Amended items appear in bold.
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     a)     Informal comments received from the Committee.

     Related Documents:

     a)     Interim Order (I) Confirming the Manner of Satisfying the Requirement to File a
            List of Equity Security Holders and (II) Authorizing Debtors to Redact Certain
            Personal Information (D.I. 146, entered 9/12/24).

     b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
            9/12/24).

     c)     Certification of Counsel Regarding Final Order (I) Confirming the Manner of
            Satisfying the Requirement to File a List of Equity Security Holders and
            (II) Authorizing Debtors to Redact Certain Personal Information (D.I. 506,
            filed 10/16/24).

     d)     Final Order (I) Confirming the Manner of Satisfying the Requirement to File a List
            of Equity Security Holders and (II) Authorizing Debtors to Redact Certain Personal
            Information (D.I. 517, entered 10/17/24).

     Status: An order has been entered with respect to this matter. No hearing is necessary.

2.   Motion of Debtors for Entry of Interim and Final Orders Authorizing (I) Debtors to Pay
     Certain Prepetition Taxes, Governmental Assessments, and Fees and (II) Financial
     Institutions to Honor and Process Related Checks and Transfers (D.I. 7, filed 9/9/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
     5:00 p.m. (ET) for the Committee and the U.S. Trustee.

     Responses Received: None.

     Related Documents:

     a)     Interim Order Authorizing (I) Debtors to Pay Certain Prepetition Taxes,
            Governmental Assessments, and Fees and (II) Financial Institutions to Honor and
            Process Related Checks and Transfers (D.I. 118, entered 9/11/24).

     b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
            9/12/24).

     c)     Certificate of No Objection Regarding Final Order Authorizing (I) Debtors to Pay
            Certain Prepetition Taxes, Governmental Assessments, and Fees and (II) Financial
            Institutions to Honor and Process Related Checks and Transfers (D.I. 510,
            filed 10/16/24).



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     d)     Final Order Authorizing (I) Debtors to Pay Certain Prepetition Taxes,
            Governmental Assessments, and Fees and (II) Financial Institutions to Honor and
            Process Related Checks and Transfers (D.I. 520, entered 10/17/24).

     Status: An order has been entered with respect to this matter. No hearing is necessary.

3.   Motion of Debtors for Entry of Interim and Final Orders Authorizing (I) Debtors to Honor
     Prepetition Obligations to Customers and Otherwise Continue Customer Practices and
     (II) Financial Institutions to Honor and Process Related Checks and Transfers (D.I. 10,
     filed 9/9/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
     5:00 p.m. (ET) for the Committee and the U.S. Trustee.

     Responses Received:

     a)     Informal comments received from the U.S. Trustee.

     b)     Informal comments received from the Committee.

     Related Documents:

     a)     Interim Order Authorizing (I) Debtors to Honor Prepetition Obligations to
            Customers and Otherwise Continue Customer Practices and (II) Financial
            Institutions to Honor and Process Related Checks and Transfers (D.I. 126, entered
            9/11/24).

     b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
            9/12/24).

     c)     Certification of Counsel Regarding Final Order Authorizing (I) Debtors to Honor
            Prepetition Obligations to Customers and Otherwise Continue Customer Practices
            and (II) Financial Institutions to Honor and Process Related Checks and Transfers
            (D.I. 507, filed 10/16/24).

     d)     Final Order Authorizing (I) Debtors to Honor Prepetition Obligations to Customers
            and to Otherwise Continue Customer Practices and (II) Financial Institutions to
            Honor and Process Related Checks and Transfers (D.I. 518, entered 10/17/24).

     Status: An order has been entered with respect to this matter. No hearing is necessary.

4.   Motion of Debtors for Entry of Interim and Final Orders Authorizing (I) Debtors to
     (A) Continue and Renew Their Liability, Property, Casualty, Surety Bond, and Other
     Insurance Programs, and Honor All Obligations in Respect Thereof, (B) Honor and Renew
     the Terms of the Premium Financing Agreements and Pay the Financing Agreement
     Payments Thereunder, and (C) Enter into New Premium Financing Agreements in the


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Ordinary Course of Business and (II) Financial Institutions to Honor and Process Related
Checks and Transfers (D.I. 12, filed 9/9/24).

Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 4, 2024, at
5:00 p.m. (ET) for Liberty Mutual Insurance Company (“Liberty Mutual”); extended to
October 15, 2024, at 5:00 p.m. (ET) for the Committee and the U.S. Trustee.

Responses Received:

a)     Informal comments received from Liberty Mutual.

b)     Informal comments received from the Chubb Companies (“Chubb”).

c)     Informal comments received from the Committee.

d)     Informal comments received from the U.S. Trustee.

Related Documents:

a)     Interim Order Authorizing (I) Debtors to (A) Continue and Renew Their Liability,
       Property, Casualty, Surety Bond, and Other Insurance Programs, and Honor All
       Obligations in Respect Thereof, (B) Honor and Renew the Terms of the Premium
       Financing Agreements and Pay the Financing Agreement Payments Thereunder,
       and (C) Enter into New Premium Financing Agreements in the Ordinary Course of
       Business and (II) Financial Institutions to Honor and Process Related Checks and
       Transfers (D.I. 119, entered 9/11/24).

b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
       9/12/24).

c)     Certification of Counsel Regarding Final Order Authorizing (I) Debtors to (A)
       Continue and Renew Their Liability, Property, Casualty, Surety Bond, and Other
       Insurance Programs, and Honor All Obligations in Respect Thereof, (B) Honor and
       Renew the Terms of the Premium Financing Agreements and Pay the Financing
       Agreement Payments Thereunder, and (C) Enter into New Premium Financing
       Agreements in the Ordinary Course of Business and (II) Financial Institutions to
       Honor and Process Related Checks and Transfers (D.I. 513, filed 10/16/24).

d)     Final Order Authorizing (I) Debtors to (A) Continue and Renew Their Liability,
       Property, Casualty, Surety Bond, and Other Insurance Programs, and Honor All
       Obligations in Respect Thereof, (B) Honor and Renew the Terms of the Premium
       Financing Agreements and Pay the Financing Agreement Payments Thereunder,
       and (C) Enter Into New Premium Financing Agreements in the Ordinary Course of
       Business and (II) Financial Institutions to Honor and Process Related Checks and
       Transfers (D.I. 524, entered 10/17/24).


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     Status: An order has been entered with respect to this matter. No hearing is necessary.

5.   Debtors’ Application for an Order Authorizing Employment and Retention of Kroll
     Restructuring Administration LLC as Administrative Advisor Nunc Pro Tunc to the
     Petition Date (D.I. 209, filed 9/18/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
     5:00 p.m. (ET) for the Committee and the U.S. Trustee.
     Responses Received:

     a)     Informal comments received from the U.S. Trustee.

     Related Documents:

     a)     Certification of Counsel Regarding Order Authorizing Employment and Retention
            of Kroll Restructuring Administration LLC as Administrative Advisor Nunc Pro
            Tunc to the Petition Date (D.I. 514, filed 10/16/24).

     b)     Order Authorizing Employment and Retention of Kroll Restructuring
            Administration LLC as Administrative Advisor Nunc Pro Tunc to the Petition Date
            (D.I. 521, entered 10/17/24).

     Status: An order has been entered with respect to this matter. No hearing is necessary.

6.   Debtors’ Omnibus Motion for Entry of an Order (I) Authorizing the Debtors to Reject
     Certain Executory Contracts, and (II) Granting Related Relief (D.I. 288, filed 9/19/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
     5:00 p.m. (ET) for the Committee and the U.S. Trustee.

     Responses Received: None.

     Related Documents:

     a)     Certificate of No Objection Regarding Order (I) Authorizing the Debtors to Reject
            Certain Executory Contracts, and (II) Granting Related Relief (D.I. 516,
            filed 10/17/24).

     b)     Omnibus Order (I) Authorizing the Debtor to Reject Certain Executory Contracts
            Nunc Pro Tunc to September 9, 2024, and (II) Granting Related Relief (D.I. 525,
            entered 10/17/24).

     Status: An order has been entered with respect to this matter. No hearing is necessary.

7.   Motion of Debtor for Entry of an Order Establishing Procedures for Interim Compensation
     and Reimbursement of Expense for Retained Professionals (D.I. 289, filed 9/19/24).


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     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
     5:00 p.m. (ET) for the Committee and the U.S. Trustee.

     Responses Received:

     a)     Informal comments received from the U.S. Trustee.

     b)     Informal comments received from the DIP Lenders.

     Related Documents:

     a)     Certification of Counsel Regarding Order Establishing Procedures for Interim
            Compensation and Reimbursement of Expense for Retained Professionals
            (D.I. 508, filed 10/16/24).

     b)     Order Establishing Procedures for Interim Compensation and Reimbursement of
            Expenses of Retained Professionals (D.I. 519, entered 10/17/24).

     Status: An order has been entered with respect to this matter. No hearing is necessary.

MATTERS UNDER CERTIFICATION

8.   Debtors’ Application for Entry of an Order, Pursuant to Sections 327(a) and 328(a) of the
     Bankruptcy Code, Authorizing the Retention and Employment of Guggenheim Securities,
     LLC as Investment Banker for the Debtors and Debtors-in-Possession Effective as of the
     Petition Date, and Modifying Certain Time-Keeping Requirements (D.I. 210, filed
     9/18/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
     5:00 p.m. (ET) for the Committee; extended to October 17, 2024, at 12:00 p.m. (ET) for
     the U.S. Trustee.

     Responses Received:

     a)     Informal comments received from the U.S. Trustee.

     Related Documents:

     a)     Supplemental Declaration of Stuart Erickson in Support of Debtors’ Application
            for Entry of an Order, Pursuant to Sections 327(a) and 328(a) of the Bankruptcy
            Code, Authorizing the Retention and Employment of Guggenheim Securities, LLC
            as Investment Banker for the Debtors and Debtors-in-Possession, Effective as of
            the Petition Date, and Modifying Certain Time-Keeping Requirements (D.I. 522,
            filed 10/17/24).

     b)     Certification of Counsel Regarding Order Authorizing the Retention and
            Employment of Guggenheim Securities, LLC as Investment Banker for the Debtors
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             and Debtors-in-Possession Effective as of the Petition Date, and Modifying Certain
             Time-Keeping Requirements (D.I. 526, filed 10/17/24).

      c)     Order, Pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code,
             Authorizing the Retention and Employment of Guggenheim Securities, LLC
             as Investment Banker for the Debtors and Debtors-In-Possession, Effective as
             of the Petition Date, and Modifying Certain Time-Keeping Requirements
             (D.I. 550, entered 10/17/24).

      Status: An order has been entered with respect to this matter.           No hearing is
      necessary.

9.    Motion of Debtors for Entry of an Order Extending Time to File (I) Schedules of Assets
      and Liabilities, (II) Schedules of Current Income and Expenditures, (III) Schedules of
      Executory Contracts and Unexpired Leases, and (IV) Statements of Financial Affairs
      (D.I. 240, filed 9/22/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents:

      a)     Certification of Counsel Regarding Order Extending Time to File (I) Schedules of
             Assets and Liabilities, (II) Schedules of Current Income and Expenditures, (III)
             Schedules of Executory Contracts and Unexpired Leases, and (IV) Statements of
             Financial Affairs (D.I. 509, filed 10/16/24).

      b)     Order Extending Time to File (I) Schedules of Assets and Liabilities,
             (II) Schedules of Current Income and Expenditures, (III) Schedules of
             Executory Contracts and Unexpired Leases, and (IV) Statements of Financial
             Affairs (D.I. 542, entered 10/17/24).

      Status: An order has been entered with respect to this matter.           No hearing is
      necessary.

MATTERS GOING FORWARD

10.   Motion of Debtors for Entry of Interim and Final Orders Establishing Notification and
      Hearing Procedures for, and Approving Restrictions on, Certain Transfers of, and
      Declarations of Worthlessness with Respect to, Interests in the Debtors Estates (D.I. 8,
      filed 9/9/24).



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      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from Jeffrey M. Kurzon.

      b)     Letter Regarding Employee’s Stocks, filed by Betty L. Berens (D.I. 438, filed
             10/7/24).

      Related Documents:

      a)     Interim Order Establishing Notification and Hearing Procedures for, and
             Approving Restrictions on, Certain Transfers of and Declarations of Worthlessness
             with Respect to Interests in the Debtors Estates (D.I. 117, entered 9/11/24).

      b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
             9/12/24).

      Status: This matter is going forward.

11.   Motion of Debtors for Entry of Interim and Final Orders (I) Prohibiting Utilities from
      Altering, Refusing, or Discontinuing Service, (II) Deeming Utilities Adequately Assured
      of Future Performance, and (III) Establishing Procedures for Determining Requests for
      Additional Adequate Assurance (D.I. 9, filed 9/9/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from Keter Environmental Services (“Keter”).

      b)     Informal comments received from Direct Energy Business, LLC.

      c)     Informal comments received from UGI Utilities (“UGI”).

      d)     Informal comments received from the Committee.

      e)     Objection of Certain Utility Companies to the Motion of Debtors for Entry of
             Interim and Final Orders (I) Prohibiting Utilities from Altering, Refusing, or
             Discontinuing Service, (II) Deeming Utilities Adequately Assured of Future
             Performance, and (III) Establishing Procedures for Determining Requests for
             Additional Adequate Assurance (D.I. 272, filed 9/25/24).




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      Related Documents:

      a)     Interim Order (I) Prohibiting Utilities from Altering, Refusing, or Discontinuing
             Service, (II) Deeming Utilities Adequately Assured of Future Performance, and
             (III) Establishing Procedures for Determining Requests for Additional Adequate
             Assurance (D.I. 136, entered 9/11/24).

      b)     Notice of Amended Exhibit to Motion of Debtors for Entry of Interim and Final
             Orders (I) Prohibiting Utilities from Altering, Refusing, or Discontinuing Service,
             (II) Deeming Utilities Adequately Assured of Future Performance, and
             (III) Establishing Procedures for Determining Requests for Additional Adequate
             Assurance (D.I. 139, filed 9/12/24).

      c)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
             9/12/24).

      Status: This matter is going forward at this time. The Debtors have revised the proposed
      form of order to incorporate comments received from the Keter, Direct Energy Business,
      LLC, UGI, and the Committee. The Debtors believe that the informal comments are
      resolved. The Debtors are working to resolve objection (e) and expect that objection (e)
      will be withdrawn or resolved in advance of the hearing.

12.   Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing (A) Debtors to
      Continue to Maintain Existing Cash Management System, Bank Accounts, and Business
      Forms, (B) Debtors to Open and Close Bank Accounts, and (C) Financial Institutions to
      Administer the Bank Accounts and Honor and Process Related Checks and Transfers,
      (II) Waiving Deposit and Investment Requirements, and (III) Allowing Intercompany
      Transactions and Affording Administrative Expense Priority to Post-Petition Intercompany
      Claims (D.I. 15, filed 9/9/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
      5:00 p.m. (ET) for the Committee; extended to October 16, 2024, at 12:00 p.m. (ET) for
      the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      b)     Informal comments received from the Committee.

      c)     Informal comments received from PrimeRevenue, Inc (“PrimeRevenue”).

      Related Documents:

      a)     Interim Order (I) Authorizing (A) Debtors to Continue to Maintain Existing Cash
             Management System, Bank Accounts, and Business Forms, (B) Debtors to Open
             and Close Bank Accounts, and (C) Financial Institutions to Administer the Bank
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             Accounts and Honor and Process Related Checks and Transfers, (II) Waiving
             Deposit and Investment Requirements, and (III) Allowing Intercompany
             Transactions and Affording Administrative Expense Priority to Post-Petition
             Intercompany Claims (D.I. 112, entered 9/10/24).

      b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
             9/12/24).

      c)     Certification of Counsel Regarding Final Order (I) Authorizing (A) Debtors
             to Continue to Maintain Existing Cash Management System, Bank Accounts,
             and Business Forms, (B) Debtors to Open and Close Bank Accounts, and (C)
             Financial Institutions to Administer the Bank Accounts and Honor and
             Process Related Checks and Transfers, (II) Waiving Deposit and Investment
             Requirements, and (III) Allowing Intercompany Transactions and Affording
             Administrative Expense Priority to Post-Petition Intercompany Claims
             (D.I. 537, entered 10/17/24).

      d)     Final Order (I) Authorizing (A) Debtors to Continue to Maintain Existing
             Cash Management System, Bank Accounts, and Business Forms, (B) Debtors
             to Open and Close Bank Accounts, and (C) Financial Institutions to
             Administer the Bank Accounts and Honor and Process Related Checks and
             Transfers, (II) Waiving Deposita and Investment Requirements, and (III)
             Allowing Intercompany Transactions and Affording Administrative Expense
             Priority to Post-Petition Intercompany Claims (D.I. 547, entered 10/18/24).

      Status: An order has been entered with respect to this matter.           No hearing is
      necessary.

13.   Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to Assume
      the Services Agreement, (II) Authorizing Store Closing Sales and Approving Related
      Procedures, and (III) Granting Related Relief (D.I. 16, filed 9/9/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
      5:00 p.m. (ET) for the Committee; extended to October 16, 2024 at 5:00 p.m. (ET) for Blue
      Owl Real Estate Capital LLC (“Blue Owl”); extended to October 16, 2024, at 6:00 p.m.
      (ET) for the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the Committee.

      b)     Informal comments received from the U.S. Trustee.

      c)     Informal comments received from the Orange County Tax Collector and the
             Broward County Tax Collector.


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d)    Informal comments received from the National Association of Attorneys General.

e)    Informal comments received from Chubb.

f)    Northtowne Plaza Properties, Ltd.’s Limited Objection to the Notice of List of
      Additional Closing Stores Pursuant to the Interim Order (I) Authorizing Debtors to
      Assume the Services Agreement, (II) Authorizing Store Closing Sales and
      Approving Related Procedures, and (III) Granting Related Relief (D.I. 274, filed
      9/25/24).

g)    Omnibus Limited Objection to (1) Motion of Debtors’ for Interim and Final Orders
      Authorizing Debtor to Assume the Services Agreement, et al.; (2) Motion of
      Debtors for Entry of an Order Authorizing Debtors to Reject Certain Unexpired
      Leases of Nonresidential Real Property; et al.; (3) Motion of Debtors for Entry of
      Orders Approving Bidding Procedures for Sale of Debtors Assets, et al.; and (4)
      Motion of Debtors to Approve Debtor in Possession Financing (D.I. 293, filed
      9/26/24).

h)    Casitas Oceanside Three LP’s Joinder and Limited Objection to Notice of List of
      Additional Closing Stores Pursuant to the Interim Order (I) Authorizing Debtors to
      Assume the Services Agreement, (II) Authorizing Store Closing Sales and
      Approving Related Procedures, and (III) Granting Related Relief (D.I. 323, filed
      9/26/24).

i)    Creditor Broward County’s Limited Objection and Notice of Joinder in Scott
      Randolph, as Orange County, Florida Tax Collector’s Omnibus Limited Objection
      to (1) Motion of Debtors’ for Interim and Final Orders Authorizing Debtor to
      Assume the Services Agreement, et al.; (2) Motion of Debtors for Entry of an Order
      Authorizing Debtors to Reject Certain Unexpired Leases of Nonresidential Real
      Property; et al.; (3) Motion of Debtors for Entry of Orders Approving Bidding
      Procedures for Sale of Debtors Assets, et al.; and (4) Motion of Debtors to Approve
      Debtor in Possession Financing (D.I. 339, filed 9/27/24).

j)    Omnibus Limited Objection of Certain Landlords to Motions of Debtors to
      Approve (A) Store Closing Procedures and (B) Post-Petition Financing (D.I. 385,
      filed 10/2/24).

k)    Joint Limited Objection of the Texas Tax Authorities to the Debtors’ Motion for
      Entry of Interim and Final Orders (I) Authorizing Debtors to Assume the Services
      Agreement, (II) Authorizing Store Closing Sales and Approving Related
      Procedures, and (III) Granting Related Relief (D.I. 388, filed 10/2/24).

l)    Limited Objection of Cactus Crossing, LLC to Motion of Debtors for Entry of
      Interim and Final Orders (I) Authorizing Debtors to Assume the Services
      Agreement, (II) Authorizing Store Closing Sales and Approving Related
      Procedures, and (III) Granting Related Relief (D.I. 396, filed 10/2/24).

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m)    Joinder and Objection of the Grove Shops LLC to the Motions of the Debtors to
      Approve (I) Store Closing Procedures and (II) Post Petition Financing (D.I. 400,
      filed 10/2/24).

n)    Limited Objection and Reservation of Rights of Landlord Columbia Park Retail
      Owner, LLC to Interim Order (I) Authorizing Debtors to Assume the Consulting
      Agreement, (II) Authorizing Store Closing Sales and Approving Related
      Procedures, and (III) Granting Related Relief (D.I. 401, filed 10/2/24).

o)    Milelli Realty-Lehigh Street, LLC’s Joinder to the Omnibus Limited Objection of
      Certain Landlords to the Motions of the Debtors to Approve (I) Store Closing
      Procedures and (II) Post Petition Financing (D.I. 439, filed 10/7/24).

p)    Amended Limited Objection and Reservation of Rights of Landlord Columbia Park
      Retail Owner, LLC to Interim Order (I) Authorizing Debtors to Assume the
      Consulting Agreement, (II) Authorizing Store Closing Sales and Approving
      Related Procedures, and (III) Granting Related Relief (D.I. 454, filed 10/9/24).

q)    United States Trustees Objection to Motion of Debtors for Entry of Interim and
      Final Orders (I) Authorizing Debtors to Assume the Services Agreement,
      (II) Authorizing Store Closing Sales and Approving Related Procedures, and
      (III) Granting Related Relief (D.I. 503, filed 10/16/24).

r)    Limited Objection and Reservation of Rights of Westerville Square, Inc. to
      Interim Order (I) Authorizing Debtors to Assume the Consulting Agreement,
      (II) Authorizing Store Closing Sales and Approving Related Procedures, and
      (III) Granting Related Relief (D.I. 501, filed 10/16/24).

Related Documents:

a)    Interim Order (I) Authorizing Debtors to Assume the Services Agreement,
      (II) Authorizing Store Closing Sales and Approving Related Procedures, and
      (III) Granting Related Relief (D.I. 134, entered 9/11/24).

b)    Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
      9/12/24).

c)    Notice of Filing of List of Additional Closing Stores Pursuant to the Interim Order
      (I) Authorizing Debtors to Assume the Services Agreement, (II) Authorizing Store
      Closing Sales and Approving Related Procedures, and (III) Granting Related Relief
      (D.I. 239, filed 9/20/24).

d)    Declaration of Joseph Malfitano in Support of Motion of Debtors for Entry of
      Interim and Final Orders (I) Authorizing Debtors to Assume the Services
      Agreement, (II) Authorizing Store Closing Sales and Approving Related
      Procedures, and (III) Granting Related Relief (D.I. 257, filed 9/24/24).
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      e)     Declaration of Eric W. Kaup in Support of Motion of Debtors for Entry of Interim
             and Final Orders (I) Authorizing Debtors to Assume the Services Agreement,
             (II) Authorizing Store Closing Sales and Approving Related Procedures, and
             (III) Granting Related Relief (D.I. 258, filed 9/24/24).

      f)     Declaration of Mark P. Naughton in Support of Motion of Debtors for Entry of
             Interim and Final Orders (I) Authorizing Debtors to Assume the Services
             Agreement, (II) Authorizing Store Closing Sales and Approving Related
             Procedures, and (III) Granting Related Relief (D.I. 259, filed 9/24/24).

      Status: The Debtors have revised the proposed form of order to incorporate informal
      comments received from the Committee, Broward County Tax Collector, Orange County
      Tax Collector, the Texas Tax Collector, the National Association of Attorneys General,
      and Chubb. Additionally, the Debtors believe that objections (f)–(o) are or will be
      resolved. This matter is going forward with respect to the objection filed by the U.S.
      Trustee. The Debtors may present the testimony of Jonathan Ramsden in support of
      this matter.

14.   Motion of Debtors for Entry of Orders (I) (A) Approving Bidding Procedures for Sale of
      Debtors’ Assets, (B) Approving the Stalking Horse Bid Protections, (C) Scheduling
      Auction for, and Hearing to Approve, Sale of Debtors’ Assets, (D) Approving Form and
      Manner of Notices of Sale, Auction, and Sale Hearing, and (E) Approving Assumption and
      Assignment Procedures, (II) (A) Approving Sale of Debtors’ Assets Free and Clear of
      Liens, Claims, Interests, and Encumbrances and (B) Authorizing Assumption and
      Assignment of Executory Contracts and Unexpired Leases, and (III) Granting Related
      Relief (D.I. 18, filed 9/9/24).

      Objection Deadline: September 23, 2024, at 4:00 p.m. (ET); extended to October 7, 2024,
      at 9:00 a.m. for various landlords represented by Allen Matkins Leck Gamble Mallory &
      Natsis LLP, Ballard Spahr LLP, Barclay Damon LLP, and Frost Brown Todd LLP;
      extended to October 9, 2024, at 5:00 p.m. (ET) for various landlords represented by Kelley
      Drye & Warren LLP (all commenting landlords collectively, the “Landlords”); extended
      to October 15, 2024, at 5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the Landlords.

      b)     [Withdrawn] Limited Objection by 1600 Eastchase Parkway Leasing LLC, to
             Debtors’ Motion for Entry of Orders (I) (A) Approving Bidding Procedures for Sale
             of Debtors Assets, (B) Approving the Stalking Horse Bid Protections, (C)
             Scheduling Auction for, and Hearing to Approve, Sale of Debtors’ Assets, (D)
             Approving Form and Manner of Notices of Sale, Auction, and Sale Hearing, and
             (E) Approving Assumption and Assignment Procedures, (II) (A) Approving Sale
             of Debtors Assets Free and Clear of Liens, Claims, Interests, and Encumbrances

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      and (B) Authorizing Assumption and Assignment of Executory Contracts and
      Unexpired Leases, and (III) Granting Related Relief (D.I. 237, filed 9/20/24).

c)    Response and Reservation of Rights of WPG Management Associates, Inc. to
      Motion of Debtors for Entry of Orders (I) (A) Approving Bidding Procedures for
      Sale of Debtors’ Assets, (B) Approving the Stalking Horse Bid Protections,
      (C) Scheduling Auction for, and Hearing to Approve, Sale of Debtors’ Assets,
      (D) Approving Form and Manner of Notices of Sale, Auction, and Sale Hearing,
      and (E) Approving Assumption and Assignment Procedures, (II) (A) Approving
      Sale of Debtors’ Assets Free and Clear of Liens, Claims, Interests, and
      Encumbrances and (B) Authorizing Assumption and Assignment of Executory
      Contracts and Unexpired Leases, and (III) Granting Related Relief (D.I. 244,
      filed 9/23/24).

d)    Protective Objection of American National Insurance Company to Motion of
      Debtors for Entry of Orders (I) (A) Approving Bidding Procedures for Sale of
      Debtors’ Assets, (B) Approving the Stalking Horse Bid Protections, (C) Scheduling
      Auction for, and Hearing to Approve, Sale of Debtors’ Assets, (D) Approving Form
      and Manner of Notices of Sale, Auction, and Sale Hearing, and (E) Approving
      Assumption and Assignment Procedures, (II) (A) Approving Sale of Debtors’
      Assets Free and Clear of Liens, Claims, Interests, and Encumbrances and
      (B) Authorizing Assumption and Assignment of Executory Contracts and
      Unexpired Leases, and (III) Granting Related Relief (D.I. 246, filed 9/23/24).

e)    Statement of Reservation of Rights of the Gerson Company Regarding Debtors’
      Sale Procedures Motion (D.I. 247, filed 9/23/24).

f)    Omnibus Limited Objection to (1) Motion of Debtors’ for Interim and Final Orders
      Authorizing Debtor to Assume the Services Agreement, et al.; (2) Motion of
      Debtors for Entry of an Order Authorizing Debtors to Reject Certain Unexpired
      Leases of Nonresidential Real Property; et al.; (3) Motion of Debtors for Entry of
      Orders Approving Bidding Procedures for Sale of Debtors Assets, et al.; and
      (4) Motion of Debtors to Approve Debtor in Possession Financing (D.I. 293, filed
      9/26/24).

g)    Creditor Broward County’s Limited Objection and Notice of Joinder in Scott
      Randolph, as Orange County, Florida Tax Collector’s Omnibus Limited Objection
      to (1) Motion of Debtors’ for Interim and Final Orders Authorizing Debtor to
      Assume the Services Agreement, et al.; (2) Motion of Debtors for Entry of an Order
      Authorizing Debtors to Reject Certain Unexpired Leases of Nonresidential Real
      Property; et al.; (3) Motion of Debtors for Entry of Orders Approving Bidding
      Procedures for Sale of Debtors Assets, et al.; and (4) Motion of Debtors to Approve
      Debtor in Possession Financing (D.I. 339, filed 9/27/24).

h)    Limited Objection of the Official Committee of Unsecured Creditors to Motion of
      the Debtors for Entry of Orders (I) (A) Approving Bidding Procedures for Sale of
      Debtors’ Assets, (B) Approving the Stalking Horse Bid Protections, (C) Scheduling
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      Auction for, and Hearing to Approve, Sale of Debtors’ Assets, (D) Approving Form
      and Manner of Notices of Sale, Auction, and Sale Hearing, and (E) Approving
      Assumption and Assignment Procedures, (II) (A) Approving Sale of Debtors’
      Assets Free and Clear of Liens, Claims, Interests, and Encumbrances and
      (B) Authorizing Assumption and Assignment of Executory Contracts and
      Unexpired Leases, and (III) Granting Related Relief (D.I. 487, filed 10/14/24).

i)    United States Trustee’s Objection to Motion of Debtors for Entry of Orders
      (I)(A) Approving Bidding Procedures for Sale of Debtors’ Assets, (B) Approving
      the Stalking Horse Bid Protections, (C) Scheduling Auction for, and Hearing to
      Approve, Sale of Debtors’ Assets, (D) Approving Form and Manner of Notices of
      Sale, Auction, and Sale Hearing, and (E) Approving Assumption and Assignment
      Procedures, (II) (A) Approving Sale of Debtors’ Assets Free and Clear of Liens,
      Claims, Interests, and Encumbrances and (B) Authorizing Assumption and
      Assignment of Executory Contracts and Unexpired Leases, and (III) Granting
      Related Relief (D.I. 494, filed 10/15/24).

Related Documents:

a)    Declaration of Adam Rifkin in Support of Motion of Debtors for Entry of Orders
      (I) (A) Approving Bidding Procedures for Sale of Debtors’ Assets, (B) Approving
      the Stalking Horse Bid Protections, (C) Scheduling Auction for, and Hearing to
      Approve, Sale of Debtors’ Assets, (D) Approving Form and Manner of Notices of
      Sale, Auction, and Sale Hearing, and (E) Approving Assumption and Assignment
      Procedures, (II) (A) Approving Sale of Debtors’ Assets Free and Clear of Liens,
      Claims, Interests, and Encumbrances and (B) Authorizing Assumption and
      Assignment of Executory Contracts and Unexpired Leases, and (III) Granting
      Related Relief (D.I. 197, filed 9/17/24).

b)    Notice of Filing of Exhibits Related to Motion of Debtors for Entry of Orders
      (I) (A) Approving Bidding Procedures for Sale of Debtors’ Assets, (B) Approving
      the Stalking Horse Bid Protections, (C) Scheduling Auction for, and Hearing to
      Approve, Sale of Debtors’ Assets, (D) Approving Form and Manner of Notices of
      Sale, Auction, and Sale Hearing, and (E) Approving Assumption and Assignment
      Procedures, (II) (A) Approving Sale of Debtors’ Assets Free and Clear of Liens,
      Claims, Interests, and Encumbrances and (B) Authorizing Assumption and
      Assignment of Executory Contracts and Unexpired Leases, and (III) Granting
      Related Relief (D.I. 198, filed 9/17/24).

c)    Notice of Hearing Regarding Motion of Debtors for Entry of Orders
      (I)(A) Approving Bidding Procedures for Sale of Debtors’ Assets, (B) Approving
      the Stalking Horse Bid Protections, (C) Scheduling Auction for, and Hearing to
      Approve, Sale of Debtors’ Assets, (D) Approving Form and Manner of Notices of
      Sale, Auction, and Sale Hearing, and (E) Approving Assumption and Assignment
      Procedures, (II) (A) Approving Sale of Debtors’ Assets Free and Clear of Liens,
      Claims, Interests, and Encumbrances and (B) Authorizing Assumption and

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             Assignment of Executory Contracts and Unexpired Leases, and (III) Granting
             Related Relief (D.I. 199, filed 9/17/24).

      Status: The Debtors have resolved the comments received from the Landlords and
      objections (b), (d) and (g). The Debtors anticipate filing a revised form of proposed order
      in advance of the hearing. This matter is going forward. The Debtors may present the
      testimony of Adam Rifkin in support of this matter.

15.   [SEALED] Motion of Debtors for Entry of Interim and Final Orders, Pursuant to 11 U.S.C.
      §§ 105, 361, 362, 363, 364, 503, 506, 507, and 552 (I) Authorizing the Debtors to (A)
      Obtain Senior Secured Superpriority Post-Petition Financing and (B) Use Cash Collateral,
      (II) Granting Liens and Superpriority Administrative Expense Claims, (III) Providing
      Adequate Protection to Prepetition Secured Parties, (IV) Scheduling a Final Hearing, and
      (V) Granting Related Relief (D.I. 19, filed 9/9/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 4, 2024, at
      5:00 p.m. (ET) for Chubb and Liberty Mutual; extended to October 16, 2024, at 5:00 p.m.
      (ET) for the Committee, the U.S. Trustee and Blue Owl; extended to October 17, 2024, at
      12:00 p.m. (ET) for the Landlords.

      Responses Received:

      a)     Informal comments received from the Committee.

      b)     Informal comments received from the Landlords.

      c)     Informal comments received from the U.S. Trustee.

      d)     Informal comments received from the Orange County Tax Collector and the
             Broward County Tax Collector.

      e)     Informal comments received from Liberty Mutual.

      f)     Informal comments received from Comenity Capital Bank.

      g)     Informal comments received from Chubb.

      h)     Omnibus Limited Objection to (1) Motion of Debtors’ for Interim and Final Orders
             Authorizing Debtor to Assume the Services Agreement, et al.; (2) Motion of
             Debtors for Entry of an Order Authorizing Debtors to Reject Certain Unexpired
             Leases of Nonresidential Real Property; et al.; (3) Motion of Debtors for Entry of
             Orders Approving Bidding Procedures for Sale of Debtors Assets, et al.; and
             (4) Motion of Debtors to Approve Debtor in Possession Financing (D.I. 293, filed
             9/26/24).




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i)    Omnibus Limited Objection of Certain Landlords to Motions of Debtors to
      Approve (A) Store Closing Procedures and (B) Post-Petition Financing (D.I. 385,
      filed 10/2/24).

j)    Joint Limited Objection of the Texas Tax Authorities to the Debtors’ Motion for
      Entry of Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,
      364, 503, 506, 507, and 552 (I) Authorizing the Debtors to (A) Obtain Senior
      Secured Superpriority Post-Petition Financing and (B) Use Cash Collateral,
      (II) Granting Liens and Superpriority Administrative Expense Claims,
      (III) Providing Adequate Protection to Prepetition Secured Parties, (IV) Scheduling
      a Final Hearing, and (V) Granting Related Relief (D.I. 387, filed 10/2/24).

k)    Limited Objection Pomeroy Enterprises, LLC to the Debtors’ Motion for Entry of
      Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503,
      506, 507, and 552 (I) Authorizing the Debtors to (A) Obtain Senior Secured
      Superpriority Post-Petition Financing and (B) Use Cash Collateral, (II) Granting
      Liens and Superpriority Administrative Expense Claims, (III) Providing Adequate
      Protection to Prepetition Secured Parties, (IV) Scheduling a Final Hearing, and
      (V) Granting Related Relief (D.I. 395, filed 10/2/24).

l)    Limited Objection of Northtowne Plaza Properties, Ltd. to the Debtors’ Motion for
      Entry of Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,
      364, 503, 506, 507, and 552 (I) Authorizing the Debtors to (A) Obtain Senior
      Secured Superpriority Post-Petition Financing and (B) Use Cash Collateral,
      (II) Granting Liens and Superpriority Administrative Expense Claims,
      (III) Providing Adequate Protection to Prepetition Secured Parties, (IV) Scheduling
      a Final Hearing, and (V) Granting Related Relief (D.I. 398, filed 10/2/24).

m)    Joinder and Objection of the Grove Shops LLC to the Motions of the Debtors to
      Approve (I) Store Closing Procedures and (II) Post Petition Financing (D.I. 400,
      filed 10/2/24).

n)    Creditor Broward County’s Limited Objection and Notice of Joinder in Scott
      Randolph, as Orange County, Florida Tax Collector’s Omnibus Limited Objection
      to (1) Motion of Debtors’ for Interim and Final Orders Authorizing Debtor to
      Assume the Services Agreement, et al.; (2) Motion of Debtors for Entry of an Order
      Authorizing Debtors to Reject Certain Unexpired Leases of Nonresidential Real
      Property; et al.; (3) Motion of Debtors for Entry of Orders Approving Bidding
      Procedures for Sale of Debtors Assets, et al.; and (4) Motion of Debtors to Approve
      Debtor in Possession Financing (D.I. 339, filed 9/27/24).

o)    Milelli Realty-Lehigh Street, LLC’s Joinder to the Omnibus Limited Objection of
      Certain Landlords to the Motions of the Debtors to Approve (I) Store Closing
      Procedures and (II) Post Petition Financing (D.I. 439, filed 10/7/24).

p)    Limited Objection of Arc Asandsc001, LLC, Arc Nwnchsc001, LLC, Americal
      Management Co. Inc., Arapahoe Crossings, LP, Bre Retail Np Memphis Commons
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      Owner LLC, Bre Retail Np Owner 1 LLC, Bre Retail Residual Nc Owner L.P., Bre
      Retail Residual Shoppes at Valley Forge Owner LLC, Bre Retail Residual Owner
      1 LLC, Brixmor Coconut Creek Owner, LLC, Brixmor Ga Apollo II Tx LP,
      Brixmor Ga Panama City, LLC, Brixmor Ga Washtenaw Fountain, LLC, Brixmor
      Holdings 12 Spe, LLC, Brixmor/Ia Cayuga Plaza, LLC, Brixmor/Ia Rutland Plaza
      LLC, Brixmor Lehigh Sc LLC, Brixmor Miracle Mile, LLC, Brixmor Watson Glen
      LLC, Brixton Capital, Ca New Plan Sarasota, LP, California Property Owner I,
      LLC, County Line Plaza Realty Associates, LP, Crosspoint Realty Services, Inc.,
      Federal Realty Op LP, French Shopping Center LLC, Gerrity Group, Greenberg
      Gibbons Commercial, Hanford Mall 2020 LLC, Kr Collegetown LLC, Ns Retail
      Holdings, LLC, Newsem Tyrone Gardens Property Owner LLC, Plaza at Buckland
      Hills, LLC, Rd Management LLC, Robhana Group, Starwood Retail Properties,
      Sterling Organization, The Carrington Company, Trussville Promenade I Owner,
      LLC, Value Investment Group, Inc., and Watt Companies, Inc. to Motion of
      Debtors for Entry of Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361,
      362, 363, 364, 503, 506, 507, and 552 (I) Authorizing the Debtors to (A) Obtain
      Senior Secured Superpriority Post-Petition Financing and (B) Use Cash Collateral,
      (II) Granting Liens and Superpriority Administrative Expense Claims, (III)
      Providing Adequate Protection to Prepetition Secured Parties, (IV) Scheduling a
      Final Hearing, and (V) Granting Related Relief (D.I. 523, filed 10/17/24).

q)    Limited Objection of Multiple Landlords to Debtors’ Motion for Entry of Interim
      and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, 506, 507,
      and 552, (I) Authorizing the Debtors to (A) Obtain Senior Secured Superpriority
      Post-Petition Financing and (B) Use Cash Collateral, etc. (D.I. 527, filed 10/17/24).

r)    WPG Legacy, LLC’s Limited Objection to Motion of Debtors for Entry of
      Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364,
      503, 506, 507, and 552 (I) Authorizing the Debtors to (A) Obtain Senior
      Secured Superpriority Post-Petition Financing and (B) Use Cash Collateral,
      (II) Granting Liens and Superpriority Administrative Expense Claims, (III)
      Providing Adequate Protection to Prepetition Secured Parties, (IV)
      Scheduling a Final Hearing, and (V) Granting Related Relief (D.I. 529, filed
      10/17/24).

Related Documents:

a)    [REDACTED] Motion of Debtors for Entry of Interim and Final Orders, Pursuant
      to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, 506, 507, and 552 (I) Authorizing the
      Debtors to (A) Obtain Senior Secured Superpriority Post-Petition Financing and
      (B) Use Cash Collateral, (II) Granting Liens and Superpriority Administrative
      Expense Claims, (III) Providing Adequate Protection to Prepetition Secured
      Parties, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (D.I. 20,
      filed 9/9/24).

b)    [SEALED] Notice of Filing of Fee Letters Related to Motion of Debtors for Entry
      of Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503,
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             506, 507, And 552, (I) Authorizing the Debtors To (A) Obtain Senior Secured
             Superpriority Post-Petition Financing And (B) Use Cash Collateral, (II) Granting
             Liens and Superpriority Administrative Expense Claims, (III) Providing Adequate
             Protection To Prepetition Secured Parties, (IV) Scheduling A Final Hearing, and
             (V) Granting Related Relief (D.I. 69, filed 9/9/24).

      c)     Interim Order Under Bankruptcy Code Sections 105, 361, 362, 363, 364, 503, 506,
             507, and 552, and Bankruptcy Rules 2002, 4001, 6003, 6004, and 9014
             (I) Authorizing Debtors to (A) Obtain Postpetition Financing and (B) Use Cash
             Collateral, (II) Granting (A) Liens and Providing Superpriority Administrative
             Expense Status And (B) Adequate Protection To Prepetition Secured Creditors,
             (III) Modifying Automatic Stay, (IV) Scheduling A Final Hearing, and
             (V) Granting Related Relief (D.I. 114, entered 9/10/24).

      d)     Notice of Hearing Regarding Motion of Debtors for Entry of Interim and Final
             Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, 506, 507, and 552
             (I) Authorizing the Debtors to (A) Obtain Senior Secured Superpriority
             Post-Petition Financing and (B) Use Cash Collateral, (II) Granting Liens and
             Superpriority Administrative Expense Claims, (III) Providing Adequate Protection
             to Prepetition Secured Parties, (IV) Scheduling a Final Hearing, and (V) Granting
             Related Relief (D.I. 153, filed 9/12/24).

      e)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
             9/12/24).

      Status: The Debtors have resolved objection (m) and anticipate that certain other
      objections will be resolved. The Debtors anticipate filing a revised form of proposed order
      in advance of the hearing. This matter is going forward.

16.   Application of Debtors for Authority to Employ and Retain Davis Polk & Wardwell LLP
      as Attorneys for the Debtors Nunc Pro Tunc to the Petition Date (D.I. 205, filed 9/18/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
      5:00 p.m. (ET) for the Committee; extended to October 17, 2024, at 12:00 p.m. (ET) for
      the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents: None at this time.

      Status: This matter is going forward at this time. The Debtors are working to resolve
      outstanding comments from the U.S. Trustee, including by filing a supplemental
      declaration of Brian M. Resnick in further support of the application.



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17.   Debtors’ Application for Entry of an Order Authorizing the Employment and Retention of
      AlixPartners, LLP as Financial Advisor for the Debtors Effective as of the Petition Date
      (D.I. 206, filed 9/18/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
      5:00 p.m. (ET) for the Committee; extended to October 17, 2024, at 12:00 p.m. (ET) for
      the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents:

      a)     Certification of Counsel Regarding Order Authorizing the Employment and
             Retention of AlixPartners, LLP as Financial Advisor for the Debtors Effective
             as of the Petition Date (D.I. 543, filed 10/18/24).

      Status: On October 18, 2024, the Debtors submitted a certification of counsel with
      respect to this matter. Accordingly, a hearing on this matter is only necessary if the
      Court has questions.

18.   Debtors’ Application for Entry of an Order (A) Authorizing the Debtors to Retain A&G
      Realty Partners, LLC as a Real Estate Consultant and Advisor Effective as of the Petition
      Date and (B) Waiving Certain Reporting Requirements (D.I. 207, filed 9/18/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
      5:00 p.m. (ET) for the Committee; extended to October 17, 2024, at 12:00 p.m. (ET) for
      the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents:

      a)     Certification of Counsel Order (A) Authorizing the Debtors to Retain A&G
             Realty Partners, LLC as a Real Estate Consultant and Advisor Effective as of
             the Petition Date and (B) Waiving Certain Reporting Requirements (D.I. 544,
             filed 10/18/24).

      b)     Order (A) Authorizing the Debtors to Retain A&G Realty Partners, LLC as a
             Real Estate Consultant and Advisor to the Debtors Effective as of the Petition
             Date and (B) Waiving Certain Reporting Requirements (D.I. 549,
             entered 10/18/24).

      Status: An order has been entered with respect to this matter. No hearing is necessary.
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19.   Debtors’ Application for Entry of an Order Authorizing Retention and Employment of
      Morris, Nichols, Arsht & Tunnell LLP as Bankruptcy Co-Counsel for the Debtors and
      Nunc Pro Tunc to the Petition Date (D.I. 211, filed 9/18/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 15, 2024, at
      5:00 p.m. (ET) for the Committee; extended to October 17, 2024, at 12:00 p.m. (ET) for
      the U.S. Trustee.
      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents: None at this time.

      Status: This matter is going forward at this time. The Debtors are working to resolve
      outstanding comments from the U.S. Trustee.

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Dated:   October 18, 2024
         Wilmington, Delaware
                                      MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                      /s/ Sophie Rogers Churchill
                                      Robert J. Dehney, Sr. (No. 3578)
                                      Andrew R. Remming (No. 5120)
                                      Tamara K. Mann (No. 5643)
                                      Sophie Rogers Churchill (No. 6905)
                                      Casey B. Sawyer (No. 7260)
                                      1201 N. Market Street, 16th Floor
                                      Wilmington, DE 19801
                                      Tel: (302) 658-9200
                                      rdehney@morrisnichols.com
                                      aremming@morrisnichols.com
                                      tmann@morrisnichols.com
                                      srchurchill@morrisnichols.com
                                      csawyer@morrisnichols.com

                                      -and-

                                      DAVIS POLK & WARDWELL LLP

                                      Brian M. Resnick (admitted pro hac vice)
                                      Adam L. Shpeen (admitted pro hac vice)
                                      Stephen D. Piraino (admitted pro hac vice)
                                      Jonah A. Peppiatt (admitted pro hac vice)
                                      Ethan Stern (admitted pro hac vice)
                                      450 Lexington Avenue
                                      New York, NY 10017
                                      Tel.: (212) 450-4000
                                      brian.resnick@davispolk.com
                                      adam.shpeen@davispolk.com
                                      stephen.piraino@davispolk.com
                                      jonah.peppiatt@davispolk.com
                                      ethan.stern@davispolk.com

                                      Proposed Counsel to the Debtors and
                                      Debtors in Possession




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